           Case 3:20-cv-00862-KAD Document 26 Filed 10/30/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DEBORAH LAUFER,
         Plaintiff,

v.                                                            Case No: 3:20-cv-862-KAD


SOMNATH INC,
         Defendant.

                 PLAINTIFF’S MOTION TO STRIKE UNTIMELY REPLY

       Plaintiff, by and through undersigned counsel, hereby submits this Motion to Strike

Defendant’s Reply Memorandum, filed at DE 24 on October 30, 2020, as untimely per Local

Rule 7(d).

       On August 21, 2020, the Defendant filed a Motion to Dismiss the First Amended

Complaint (DE 13). Plaintiff filed it’s Memorandum in Opposotion to the Motion to Dismiss on

August 31, 2020 (DE 14). To be timely, the Defendant would have to have filed its Reply to the

Plaintiff’s Memorandum in Opposition by September 14, 2020, per Local Rule 6 (computation of

time) and Local Rule 7(d) (14 days to file Reply). Instead, it has filed it’s reply today, sixty (60)

days after the Plaintiff’s Memorandum in Opposition was filed, which is forty-six (46) days late

(DE 24).

       The Defendant did not file a request for permission to file its late Reply.

       WHEREFORE, for all of the foregoing reasons, the Plaintiff Moves to Strike the

Defendant’s Reply (DE 24).


                                                      Respectfully submitted,



                                                  1
         Case 3:20-cv-00862-KAD Document 26 Filed 10/30/20 Page 2 of 2




                                                   For the Plaintiff, DEBORAH LAUFER,

                                                   By: L. Kay Wilson, Esq. Fed. Juris ct16084
                                                   WILSON LAW LLC
                                                   2840 Main Street, #332
                                                   Glastonbury, CT 06033
                                                   (860)559-3733 Tele/Text
                                                   Wilson@KayWilsonLaw.com




                                     Certificate of Service

I hereby certify that on the 30th day of OCTOBER, 2020, a copy of the foregoing Motion to
Strike was filed electronically and served on all counsel of record via the Court’s CM/ECF
system.


                                            /s/ L. Kay Wilson, Fed. Juris ct16084




                                               2
